                                                                                  027,21*5$17('


                       IN THE UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


UNITED STATES OF AMERICA                      ]
                                              ]
v.                                            ]       Criminal No. 2:11-00003
                                              ]       Judge Sharp
DERRICK LINDER                                ]


                            UNOPPOSED MOTION TO EXTEND
                           SURRENDER DATE TO APRIL 15, 2013

       On March 8, 2013, Derrick Linder was sentenced to imprisonment for 37 months in the
Bureau of Prisons. Mr. Linder was allowed to self report before 2:00 p.m. on April 1, 2013.
       As of today, Mr. Linder has not received his classification letter from the Bureau of Prisons
telling him where to report. Counsel for Mr. Linder was told by the U.S. Marshal’s Office that
classification is unlikely to be completed before April 1, 2013. Based on this, the Defendant
respectfully requests that this Honorable Court extend his surrender date from April 1, 2013 to April
15, 2013. Assistant United States Attorney Lee Deneke does not oppose this motion.


                                                      Respectfully submitted,

                                                      /s/ Derrick Scretchen
                                                      DERRICK SCRETCHEN
                                                      Attorney for Derrick Linder
                                                      305 Fourteenth Avenue, North
                                                      Nashville, Tennessee 37203
                                                      (615) 425-2689; Fax: (615) 320-5597
                                                      scretchenlaw@msn.com

                                  CERTIFICATE OF SERVICE

        I hereby certify that a true and exact copy of the foregoing has been served on William Lee
Deneke, Office of the United States Attorney, by the Court’s ECF/electronic filing system on this
27th day of March, 2013.
                                                        /s/ Derrick Scretchen
                                                        DERRICK SCRETCHEN




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